IN THE UNITED STATES DISTRICT COURT FOR tHe MD Wp

NORTHERN DISTRICT OF ALABAM@ py <6 py 2: ng
SOUTHERN DIVISION
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UNITED STATES OF AMERICA, ex ) NL — 6 2000
rel KATHY FENDER, )
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Plaintiff, )
)
v. ) CIVIL ACTION NO. 98-G-0899-S
)
TENET HEALTHCARE )
CORPORATION: TENET HEALTH _ )
SYSTEMS MEDICAL, INC.; )

BROOK WOOD HEALTH SERVICES, )
INC.; BROOK WOOD HEALTH )
SERVICES, INC. d/b/a BROOK WOOD )
MEDICAL CENTER and ALABAMA)
MEDICAL GROUP, INC., )

)

Defendants.
MEMORANDUM OPINION
The case presently before the court falls within the parameters of the
False Claims Act [hereinafter FCA], 31 U.S.C. § 3729 et seg., designed by
Congress to “... encourage private citizens to help the executive branch deter and
redress violations of federal law.” Evan Carminker, The Constitutionality of Qui

Tam Actions, 99 Yale L.J. 341, 344 (1989). Under the FCA, any person who

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knowingly submits a false claim to the government is liable to the United States
[hereinafter the Government]! for a civil penalty and damages. The Act provides
that the Attorney General and Department of Justice may enforce the Act on
behalf of the United States in qui tam actions,” § 3730(b)(1), and also allows
enforcement by private individuals (called relators). If the United States declines
to prosecute the case, then the relators may proceed with the action exclusively.
31 U.S.C. § 3730(b)(1) specifically provides the following:
A person may bring a civil action for a violation of section 3729 for
the person and for the United States Government. The action may be
dismissed only if the court and the Attorney General have given
written consent to the dismissal and their reasons for consenting.
Other pertinent provisions are summarized in U.S. ex rel Stinson,
Lyons, Gerlin & Bustamante, P.A. v. Provident Life and Acc. Ins. Co., 811 F.
Supp. 346, 346 (E.D. Tenn 1992), below:
Section 3730(b)(4)(B) provides that if the United States notifies the

Court that it declines to take over the prosecution of the qui tam
plaintiff's complaint, then the person bringing the action shall have

' Some quoted material in this opinion adheres to the text and uses lower
case for government. This is not to be construed as inconsistencies.

2 The term “qui tam” is short for “qui tam pro domino rege quam pro se
ipso in hac parte sequitur,” which means “who pursues this action on our Lord the
King’s behalf as well as his own.” The phrase dates from at least the time of
Blackstone. See 3 W. Blackstone, Commentaries 160.

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the right to conduct the action. Furthermore, § 3730(c)(3) provides in
part: “if the Government elects not to proceed with the action, the
person who initiated the action shall have the right to conduct the
action.” In regard to settlement § 3730(d)(2) provides in part: “If the
Government does not proceed with an action under this section, the
person bringing the action or settling the claim shall receive an
amount which the court decides is reasonable for collecting the civil
penalty and damages.”

Other than its ruling in U.S. v. NEC Corp., 11 F.3d 136 (11" Cir.
1994),’ that qui tam provisions of the FCA are remedial and survive the death of
the plaintiff, the Eleventh Circuit has not spoken to specific FCA issues dealt with
in this opinion. While differing interpretations have been placed on the FCA by
the courts of this land, no decision is binding upon this court. The court,

therefore, addresses the issues as those of first impressions.‘

3 See, U.S. ex rel. Haskins v. Omega Institute, Inc., 11 F. Supp. 2d 555,
559 (D.N.J. 1998), decision clarified on reconsideration, 25 F. Supp. 2d 510
(1998), in which the court referring to the position taken by the Third Circuit in
United States ex rel Dunleavy v. County of Delaware, 123 F.3d 734, 739 (3" Cir.
1997), said the following: “[T]he court agreed with the Eleventh Circuit’s
conclusion that the FCA’s purpose is not limited to punishing the wrongs against
the public; the FCA also fills a remedial capacity in redressing injury to the
individual relator.”

4 On May 22, 2000, the Supreme Court held that a private individual has
standing to bring suit in federal court on behalf of the United States under the
FCA, but that the FCA does not subject a state (or state agency) to liability in such
actions. Vermont Agency of Natural Resources v. United States ex rel. Stevens,
120 S. Ct. 1858, 2000 WL 646252 (U.S. Vt.). The court did not address other

(continued...)
In the instant case the Government has been given ample opportunity
to intervene, the court having extended the statutory deadline for intervention
almost two years.° Pursuant to the December 3, 1999, order giving the
Government until April 21, 2000, to make its intervention decision, the
Government on that date notified the court that it was not intervening.
Nevertheless, it requested that everything other than the complaint, notice of its
intention not to intervene, and the court’s order remain under seal.

This court is of the opinion that the Government’s request is
unreasonable and contrary to the legislative intent of the FCA. See, United States
ex rel McCoy v. California Medical Review, Inc., 715 F. Supp. 967, 968, n.1
(N.D. Cal. 1989) (“[T]he court should carefully scrutinize any additional
Government requests for extensions by evaluating the Government’s progress

with its criminal inquiry. The Government should not, in any way, be allowed to

4(...continued)
issues.

> By order of December 3, 1999, the court expressed its reluctance in
granting a “final extension. This is absolutely the last extension that will be
considered.” The order noted that the “final extension” was the fourth extension
granted, said extensions dating back to July 21, 1998. Other orders granting
extensions were entered on the following dates: June 3, 1999; and December 17,
1998.
unnecessarily delay lifting of the seal from the civil complaint or processing of the
qui tam litigation.” S.Rep. No. 99-345, 99" Cong., 2d Sess. 24, reprinted in 1986
U.S. Code Cong. & Admin. News 5266, 5290 [hereinafter Leg. Hist.]. McCoy, at
969, noted that “[k]eeping the qui tam complaint under seal for the initial 60-day
time period is intended to allow the Government an adequate opportunity to fully
evaluate the private enforcement suit .... Leg. Hist. at 5289.” The legislative
history of section (b)(3) also indicates that “once the Government has elected
whether to intervene under paragraph (2), unsealing of the complaint is virtually
automatic.” 715 F. Supp. at 969. Indeed, if the United States does intervene in a
civil FCA case it may no longer petition the court for an extension of time to hold
the case under seal, nor may it call a complete halt to the relators’ discovery
action. Nor can it in the instant case by refusing to intervene. The complaint states
an injury to the United States. Unnecessary delay causes injury to the relator.

The court, in U.S. by Dept. of Defense v. CACT Intern, Inc.,
885 F. Supp. 80, 81 (S.D.N.Y. 1995), specifically noted that 31 U.S.C.
§ 3730(c)(3) “makes no mention of the government’s right to keep in camera

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information under seal indefinitely.” “[E]ven when the government intervenes it

can not limit the status and rights of the qui tam relator, one of which is ‘the right
to conduct the action.’” /d. The court finds no authority under the False Claims
Act, 31 U.S.C. § 3729 et seq., or elsewhere to hold information relating to this
cause under seal. The request to retain the action under seal, which this court has
taken as a motion, is DENIED. The relator is ordered forthwith to serve the
defendants with summons and copies of the complaint. All other contents of the
court’s file are to be unsealed, made public, and served upon the defendants. The
Government can inflict no further injury on the relator by delaying tactics.

The court further holds that the United States cannot prevent the
parties from settling the action. In U.S. ex rel Stinson, Lyons, Gerlin &
Bustamante. P.A. vy. Provident Life and Acc. Inc. Co, 811 F. Supp. 346 (E.D. Tenn.
1992), the qui tam plaintiff and defendant negotiated a settlement and submitted a
final order dismissing the action. At issue was whether the parties could negotiate
a settlement and agree to have the action dismissed without the consent of the
Attorney General. Stinson importantly holds, at 347, that “once the United States
declines to intervene, the qui tam plaintiff has the right to conduct the action and
dismiss or settle the case without the consent of the Attorney General (emphasis
added). The decision by the Attorney General not to intervene in and conduct the

lawsuit is tantamount to consent by the Attorney General to have the action
dismissed. Minotti v. Lensink, 895 F.2d 100, 104 (2d Cir. 1990); United States ex
rel. Laughlin v. Eicher, 56 F. Supp. 972, 973 (D.D.C. 1944).”

Equally as important is the 9 Circuit’s holding in U.S. ex rel
Killingsworth v. Northrop Corporation, 25 F.3d 715 (9" Cir. 1994), appeal after
remand, Trivedi v. U.S. Dept. of Defense, 69 F.3d 545 (9" Cir. 1995), cert. denied,
517 U.S. 1110, 116 S. Ct. 1332, 134 L. Ed. 2d 483 (1996), and cert. denied, 519
USS. 928, 117 S. Ct. 296, 136 L. Ed.2d 215 (1996), which held that the
Government’s right to intervention does not give it absolute right to bar proper
settlement between parties where the Government has had notice of settlement and
has declined to take any action. The Government cannot force contractor and
former employee to continue litigation by refusing to consent to settlement. This
court concurs with and adopts the Killingsworth holding: “ [T]he government’s
consent to dismissal is only required during the initial sixty-day (or extended)
period in which the Government may decide whether to intervene.” 25 F.3d at
722. See also, U.S. ex rel. Haskins v. Omega Institute, Inc., 11 F. Supp. 2d 555,
561-62 (D.N.J. 1998) (“Where the government declines to so intervene, it cannot
compromise plaintiffs claim, even if it settles its own claim against a defendant.)

The court holds that since the court has magnanimously extended the deadline for
the United States to elect to intervene on four separate occasions, dating back to
July 21, 1998, and by order of December 3, 1999, (document 13 in the court file)
gave notice to the United States that the extension granted was the final one, the
United States has waived its right to intervene in this cause.

Parties have the right to contract settlement without interference. The
Justice Department has no right to nullify a settlement agreement in a case in
which it is not a party. Such Government intervention and interference is
tantamount to armed intrusion into a person’s home, showing no consideration of
individual rights.

Since the United States has no right to interfere with the settlement or
dismissal of the cause after the period for intervention has passed, has no right to
have the case sealed indefinitely, and has no further right to intervene after the
initial statutory time period during which it has declined to do so, the court holds
that the Government is not entitled to receipt of pleadings, motions, memoranda,
etc. in this cause, nor is it entitled to receipt of deposition transcripts. No one but a
party is entitled to receipt of the enumerated items. It is the opinion of the court
that the Government is not entitled to the receipt of the above information unless it

becomes a party. As anon-party the Government has no right to control the
action. It is offensive to the court to be asked to serve papers on a non-party and
to have to treat it as a party when it refuses to be a party. A non-party has no right
to tell the court how to perform a judicial act. Only higher courts within the
judiciary are granted that authority. To give the Attorney General the right to look
~ over the shoulder of the court and tell it what it may and may not do is violative of
the separation of powers and repugnant to this court. An employee of the
Executive Branch of the government does not have the constitutional power to
order copies of pleadings in the case. It has long been the province of the courts to
encourage settlement of cases--a practice which this court has followed. To
paraphrase Aretha Franklin’s “A Rose Is Still A Rose,”® the “Government Non-
Party” still wants to have all the rights and privileges of a party. It cannot have its
cake and eat it, too.’

It has been suggested by some that the FCA’s constitutionality is

based on the correlation set out in Morrison v. Olson, 487 U.S. 654, 108 S. Ct.

° Ms. Franklin’s reference is to Gertrude Stein’s quotation from Sacred
Emily: “Rose is a rose is a rose.”

7 Reference to George Herbert’s quotation from The Size: “Wouldst thou
both eat thy cake and have it?”
2597, 101 L. Ed. 2d 569 (1988),° in which the court upheld the independent
counsel provisions of the Ethics in Government Act as being non-violative of the
Constitution’s appointments clause of article II,° or separation of powers
principle.'® For present purposes the court does not have to decide the issues of
whether the relator has the authority to proceed with the instant cause or whether
the action should be dismissed, the statute being violative of these two

constitutional provisions and the constitutions’s “Take Care Clause.” !' 1?

® Held that the power to enforce federal law may be granted to persons
outside the Executive Branch as long as the Executive Branch retains a sufficient
control over the litigation and thus ensures that the laws are faithfully executed.

9 [The President] shall nominate, and by and with the Advise and Consent
of the Senate, shall appoint Ambassadors, other public Ministers and Consuls,
Judges of the Supreme Court, and all other Officers of the United States, whose
Appointments are not herein otherwise provided for, and which shall be
established by Law. But the Congress may by Law vest the appointment of such
inferior Officers, as they think proper, in the President alone, in the Courts of Law,
or in the Heads of Departments. U.S. Const. art. II, § 2, cl. 2.

0 U.S. Const. art II, § 2, cl. 2.

" U.S. Consti. art I, § 3: “[the Executive] shall take Care that the Laws be
faithfully executed.”

12 The Supreme Court in Vermont Agency of Natural Resources v. United
States ex rel. Stevens, 120 8. Ct. 1858, 2000 WL 646252, n.8 on 1865, specifically
said the following: “[W]Je express no view on the question whether qui tam suits
violate Article II, in particular the Appointments Clause of § 2 and the “take Care”
Clause of § 3.”

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Ultimately, the court will have to address these issues and gives the parties the
opportunity to brief within 90 days of appearance of counsel following service of
the complaint whether this cause should be dismissed as being violative of
provisions of the U.S. Const. art. II. A copy of this opinion is to be served with the
other suit papers.

Riley v. St. Luke’s Episcopal Hosp., 196 F.3d 514 (5 Cir. 1999),
reh’g en banc granted, 196 F.3 561 (5" Cir. 1999), discusses the “Take Care
Clause” of the Constitution and its application to the FCA and distinguishes
appointments of relators under FCA from Morrison upholding appointment of
independent counsel. Riley held that the qui tam provisions of the FCA violate
the Take Care Clause and the separation of powers doctrine because qui tam
actions undermine the President’s exercise of his constitutionally assigned duties.
The doctrine of separation of powers prohibits one branch of Government from
intruding on the constitutionally granted powers of another. “The doctrine may be

violated when one branch of government aggrandizes itself at the expense of

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another or when one branch ‘impermissibly undermines’ the constitutionally
granted powers and functions of another, even if there is no aggrandizement.”

196 F.3d at 522. See Clinton v. Jones, 520 U.S. 681, 701, 117 S. Ct. 1636,

137 L. Ed. 2d 945 (1997), judgment aff'd, 520 U.S. 681, 117 S. Ct. 1636, 137 L.
Ed. 2d 945 (1997) (stating that “the separation of powers doctrine requires that a
branch not impair another in the performance of its constitutional duties”) (cited
196 F.3d 522, n.28).

Important safeguards present in Morrison, 487 U.S. at 696, 101 L.

Ed.2d at 609, that ensure the Attorney General’s control of the independent
counsel are lacking in the False Claims Act. FCA qui tam actions in which the
Government does not intervene fail to provide the Attorney General with
‘sufficient control over the [relator] to insure that the President is able to perform
his constitutionally assigned dut[y]’ to take care that the laws be faithfully

executed.” '? Riley, 196 F.3d at 527. Qui tam actions are distinguished from

13 The Riley holding addresses only those FCA qui tam actions in which the
Government declines to participate. 196 F.3d at 528, n.39.

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Morrison because they lack the provisions of the Ethics in Government Act which
give the Executive control: 1) the Attorney General does not retain the power to
remove the relator (as he does with independent counsel) which gives the
Executive Branch ability to ensure that the laws are carried out; 2) the Attorney
General does not request that relators be appointed if he finds no grounds for
belief that action is warranted; 3) the jurisdiction of the relator is not defined with
reference to the facts submitted by the Attorney General; and 4) the relator is not
required to abide by Justice Department policy. Thus, in qui tam actions the
Attorney General loses all control over the decision whether to initiate the suit.
The Attorney General has no power to remove a relator in an FCA
case, no matter how irresponsible the suit becomes. The Attorney General loses
all control over the decision whether to initiate the suit. The Attorney General has
no control over the breadth of a relator’s suit. The relator, unlike independent
counsel, need not adhere to the rules and policies of the Department of Justice. A
qui tam action, established by the FCA, effects a greater degree of encroachment
on Executive prerogatives than does the Ethics in Government Act upheld in
Morrison. The Ethics in Government Act is aimed at a structural defect within the
Executive Branch: investigation of impermissible executive activity, and is

narrowly tailored to achieve that end. Riley, 196 F.3d at 528. The FCA is not. It

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is aimed at increasing protections against fraud on the public and avoidance of

injury to the individual relator.

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In summary, the court holds the following:

The request to retain the action under seal, which the court has
taken as a motion, is DENIED.

The qui tam plaintiff has the right to conduct the action and
dismiss or settle the case without the consent of the Attorney
General.

The Government’s consent to dismissal of a qui tam action is
only required during the initial sixty-day (or extended) period
in which the Government may decide whether to intervene.

The Government is not entitled to receipt of pleadings,
motions, memoranda, etc. in this cause, nor receipt of
deposition transcripts since it is not a party to the action.

Since the court has magnanimously extended the deadline for
the United States to elect to intervene on four separate
occasions, dating back to July 21, 1998, and by order of
December 3, 1999, (document 13 in the court file) gave
notice to the United States that the extension granted was

the final one, the United States has waived its right to
intervene in this cause.

Following receipt of this order the United States is not entitled
to receipt of orders entered in this action.

A copy of this order and opinion are to be served with the other
suit papers.

Parties are given the opportunity to brief within 90 days of

appearance of counsel following service of the complaint whether this cause

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should be dismissed as being violative of provisions of the U.S. Const. art. II. The
court warns defendants that it will not tolerate delay in securing representation.

An order consistent with this opinion is being entered
contemporaneously herewith.

DONE and ORDERED this G day of July 2000.

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